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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


                                               )       CASE NO.        4:06 CR 177
UNITED STATES OF AMERICA,                      )
                                               )
               Plaintiff,                      )       JUDGE DONALD C. NUGENT
                                               )
       v.                                      )
                                               )
MARVIN BRADLEY,                                )       MEMORANDUM OPINION
                                               )       AND ORDER
               Defendant.                      )



       This matter comes before the Court upon Defendant, Marvin Bradley’s Motion Under

Title 18 U.S.C. 3582(c)(2) and U.S. Sentencing Guideline 1B1.10(c) For Reduction of Sentence

Based on 2011 Guideline Amendment which becomes Effective on November 1, 2001, And,

Conforms to the 18:1 Ratio in Base Offense Level for Cocaine Base. (ECF #540). The

government filed a response in opposition to Mr. Bradley’s motion. (ECF #542). For the

reasons set forth below, the Defendant’s Motion is hereby, DENIED.

       Mr. Bradley seeks a reduction to his sentence based on changes to the Controlled

Substances Act and the Controlled Substances Import and Export Act, imposed by the Fair

Sentencing Act of 2010, which was enacted on August 3, 2010, after Mr. Bradley’s sentencing.

On June 30, 2011, the Sentencing Commission determined that the Act should be applied

retroactively. Retroactive application, however, will not begin until November 1, 2011, and will

only take effect if Congress does not modify or override the amendment prior to that date.

       The Court has already appointed the Federal Public Defender’s Office to assist Mr.

Bradley in evaluating his eligibility for a reduction, and, if appropriate, filing a motion for
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reduction under the Fair Sentencing Act once it becomes officially retroactive. (ECF #543).

However, at this time, his Motion must be DENIED as premature. (ECF #540). IT IS SO

ORDERED.




                                                   /s/ Donald C. Nugent
                                                   DONALD C. NUGENT
                                                   United States District Judge



DATED: October 11, 2011




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